                                  Case 2:06-cv-01356-PMP-LRL Document 1 Filed 10/25/06 Page 1 of 11



                             1 MORRIS PICKERING PETERSON & TRACHOK
                                  Steve Morris, Bar No. 1543
                            2 Rosa Solis-Rainey, Bar No. 7921
                            3
                              900 Bank of America Plaza
                              300 South Fourth Street
                            4 Las Vegas, Nevada 89101
                              Telephone: (702)474-9400
                            5 Facsimile: (702) 474-9422
                             6 Attorneys for Harrah's Entertainment, Inc.,
                               Gary W. Loveman & Charles L. Atwood
                             7

                             8
                             9
                                                         UNITED STATES DISTRICT COURT
                          10
                                                               DISTRICT OF NEVADA
                          11
                                                                             )
                          12 [N RE HARRAH'S SHAREHOLDER                      )
                                  LITIGATION                                 ) CASE NO: 2:06
                          13
                                                                             )
                          14                                                 )
                                                                             ) NOTICE OF REMOVAL
                          15                                                 1
                                                                             )
                          16

                          17
                          18      ro:   THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
                          19            DISTRICT OF NEVADA:
                          20                   PLEASE TAKE NOTICE that on this date, the undersigned
                          21 defendants, Harrah's Entertainment, Inc. ("Harrah's" or the "Company"),Gary

                          22 W. Loveman, and Charles L. Atwood, by and through their undersigned
                          23 zounsel, respectfully submit this Notice of Removal of the captioned action
                          24 mrsuant to 15 U.S.C.       $5 77p(c) and 78bb(f)(2),and 28 U.S.C. 55 1441(a)and (b)
                          25 2nd 1446, removing this action from the District Court of Clark County, Nevada,
                          26       n which the action is currently pending, to the United States District Court for
                          27
                          28
  MORRIS PlCKERlNC
 PETERSON 0 TRACHOK
    ATTORNEYS AT LAW
900 BANK OF AMERICA PLAZA
                                                                     Page 1of 11
300 SOUTH FOURTH STREET
 LASVEGAS, NEVADA 89101
      702/474-9400
    FAX 7 0 2 / 4 7 4 - 9 4 2 2
                               Case 2:06-cv-01356-PMP-LRL Document 1 Filed 10/25/06 Page 2 of 11



                          1    the District of Nevada. This Court has original jurisdiction over this matter
                          2    pursuant to 15U.S.C. § 77 et seq. and 28 U.S.C. § 1331.
                          3                In support of this Notice of Removal, Defendants state the following
                          4    facts that entitle them to remove:
                          5                1.     On or about October 3,2006, plaintiff Natalie Gordon
                          6    commenced an action captioned Gordon v.Harrah's Entertainment, Inc., et al., Case
                          7    No. A529183 (the "Gordon Action"),in the District Court of Clark County,
                           8   Nevada. See Complaint, and Initial Appearance Form, attached hereto as Ex. A.
                           9               2.     On or about October 3,2006, plaintiff Lou Ann Murphy
                        10     commenced an action captioned Murphy v,Harrah's Entertainment, Inc., et al.,
                        11     Case No. A529246 (the "Murphy Action"), in the District Court of Clark County,
                        12     Nevada. See Ex. Complaint, and Initial Appearance Form, attached hereto as B.
                        13                 3.     On or about October 3,2006, plaintiff Max Phillips
                        14     commenced an action captioned Phillips v.Harrah's Entertainment, Inc., et al., Case
                        15     No. A529184 (the "Phillips Action"), in the District Court of Clark County,
                        16     Nevada. See Complaint and Initial Appearance Form, attached hereto as Ex. C.
                        17                 4.     On or about October 3,2006, plaintiff Leonard Shapiro
                        18     commenced an action captioned Shapiro v.Alexander, et al., Case No. A529247
                        19     (the "Shapiro Action"),in the District Court of Clark County, Nevada. See
                        20     Complaint and Initial Appearance Form, attached hereto as Ex. D.
                        21                 5.     On or about October 4,2006, plaintiff Deborah Barnum
                        22     commenced an action captioned Barnum v.Alexander, et al., Case No. A529277
                        22     (the "Barnum Action") in the District Court of Clark County, Nevada. See
                        24     Complaint and Initial Appearance Form, attached hereto as Ex. E.
                        25                 6.     An Order signed by the Honorable Kathy A. Hardcastle on
                        2E     October 6,2006 consolidated the Gordon Action, the Murphy Action, the Phillips
                        27     Action, the Shapiro Action, and the Barnum Action, as well as "[all1actions filed
                        2t
  MORRIS PlCKERlNC
 PETERSON 6 TRACHOK
    ATTORNEYS AT LAW                                                Page 2 of 11
900 BANK OFAMERICA PLAZj
 300 SOUTH FOURTH STREET
 U S V E G A S . NEVADA89101
        702/474-9400
      FAX 702/474-9422
                          Case 2:06-cv-01356-PMP-LRL Document 1 Filed 10/25/06 Page 3 of 11



                     1    in the future in this District or transferred to this District that allege claims
                     2    arising out of the same or substantially similar facts," into an action captioned In
                     3    re Harrah's Shareholder Litigation, Master File No. A529183. See Notice of Entry of
                     4    Order, which includes the signed Order, attached hereto as Ex. F. The Order
                     5    provides that "[ilf any other case alleging claims arising out of the same or
                     6    substantially similar facts as alleged in the Consolidated Actions is filed in this
                     7    Court," the clerk shall file a copy of the Order in the separate file for the related
                     8    case; mail a copy of the Order to plaintiff's counsel in the related case and to each
                     9    defendant not already included in the Consolidated Action; and make an entry
                   10     in the Master Docket. The term "Consolidated Action" as used herein refers to
                   11     the action encompassed by Consolidated Class Action Complaint ("Consolidated
                   12     Complaint")filed on October 17,2006, see Ex. G, and the complaints filed in the
                   13     Iron Workers, Staehr, Berliner, and Frechter Actions (discussed below).
                   14                  7.     On or about October 5,2006, plaintiff Iron Workers Tennessee
                   15     Valley Pension Fund commenced an action captioned Iron Workers Tennessee
                   16     Valley Pension Fund v.Harrah's Entertainment, Inc., et al., Case No. A529449 (the
                   17     "Iron Workers Action"), in the District Court of Clark County, Nevada. See
                   18     Complaint, Jury Demand, and Initial Appearance Form, attached hereto as Ex.
                   19     H.
                   20                  8.     On or about October 5,2006, plaintiff Steve Staehr
                   21     commenced an action captioned Staekr v. Harrak's Entertainment, Inc., et al., Case
                   22     No. A529385 (the "Staehr Action"), in the District Court of Clark County,
                   23     Nevada. See Complaint, Jury Demand, and Initial Appearance Form, attached
                   24     hereto as Ex. I.
                   25                  9.     On or about October 6,2006, plaintiff Martin Berliner
                   26     commenced an action captioned Berliner v.Harrak 's Entertainment, Inc., et al.,
                   27     Case No. A529508 (the "Berliner Action"), in the District Court of Clark County,
                   28
  MORRIS PlCKERlNG
 PETERSON 0 TRACHOK
    ATTORNEYS AT LAW                                           Page 3 of 11
900 BANKOFAMERICA PLAZA
300 SOUTH FOURTH STREET
 LASVEGAS, NEVADA 89101
      702/474-9400
    FAX 702/474-9422
                                  Case 2:06-cv-01356-PMP-LRL Document 1 Filed 10/25/06 Page 4 of 11



                            1     Nevada. See Complaint, Jury Demand, and Initial Appearance Form, attached
                                  hereto as Ex. J.
                            3                  10.    On or about October 10,2006, plaintiff Jay Frechter
                            4     commenced an action captioned Fveckter v.Harrak 's Entertainment, Inc., et al.,
                            5     Case No. A529680 (the "Frechter Action"),in the District Court of Clark County,
                            6     Nevada. See Complaint, Jury Demand, and Initial Appearance Form, attached
                            7     hereto as Ex. K.'
                            8                  11.    On October 17,2006, plaintiffs in the Gordon, Murphy,
                            9     Phillips, Shapiro, and Barnum Actions filed the Consolidated Complaint (Ex. G).
                          10      The Consolidated Complaint purports to assert claims against the Defendants
                          11      arising out of an offer pursuant to which two private equity firms, Apollo
                          12      Management L.P. ("Apollo")and Texas Pacific Group ("TPG"),have proposed to
                          13      acquire all the outstanding shares of Harrah's (the "Offer"). There is no
                          14      allegation that Harrah's has approved any such transaction or that any
                          15      agreement has been reached with respect to any potential transaction.
                          16                   12.    The crux of the Consolidated Complaint is that the
                          17      Defendants "have withheld and obscured vital information"in connection with
                          18      the Offer, Ex. G Consol. Compl. 4, and that Defendants have engaged in
                          19      manipulative and deceptive conduct in connection with the Offer. Specifically,
                                  the Consolidated Complaint alleges, inter alia, that "Defendants' timing of the
                          21      announcement of the [Offer] has placed an artificial lid on the market price of
                                  Harrah's stock so that the market will not reflect the Company's improving
                          23      potential, thereby purporting to justify an unreasonably low price," id. 46; that
                          24      Defendants "in bad faith and for improper motives [I have impeded or erected
                          25

                          26           While the Iron Workers Action, Staehr Action, Berliner Action, and Frechter
                              Action are part of the Consolidated Action, the complaints in those actions do not
                          2 7 a pear to be included in the Consolidated Class Action Complaint. Accordingly, their
                                   P
                              a legations are separately addressed here.
                          28
  MORRIS PlCKERlNG
 PETERSON DTRACHOK
    ATTORNEYS AT LAW
900 BANK OFAMERICA PLAZA
                                                                     Page 4 of 11
300 SOUTH FOURTH STREET
 LASVEGAS, NEVADA 89101
      702/4749400
    FAX 7 0 2 / 4 7 4 - 9 4 2 2
                                   Case 2:06-cv-01356-PMP-LRL Document 1 Filed 10/25/06 Page 5 of 11



                              1 barriers to discourage other offers for the Company or its assets," id. 55(f); and
                              2 that the Company retained financial advisors with a conflict of interest "to

                              3 safeguard against receiving an unfavorable fairness opinion," id. 48. The Iron

                              4 Workers2and Staehr Complaints contain similar allegations.          See, eg., Ex. H Iron
                              5 Workers Compl. 10,48 (alleging "false, misleading and deceptive practices" in
                              6 connection with, inter alia, the timing of the Offer); Ex. I Staehr Compl. 27
                              7    ("Defendantsare knowingly or recklessly breaching their fiduciary duties of
                              8 candor and good faith by failing to disclose all material information concerning

                              9 the [Offer].").
                           10                  13.    The Consolidated Action is styled as a shareholder class
                           11 action brought by plaintiffs on behalf of all holders of Harrah's common stock

                           12 who "are being and will be harmed by [Dlefendants' actions," excluding

                           13 Defendants and their affiliates. Consol. Compl. 53; see also Iron Workers Compl.
                           14 31 (nearly identical class definition); Staehr Compl. 29 (same).

                           15                  14.    The Consolidated Complaint alleges two causes of action, one
                           16 against the individual defendants for breach of fiduciary duty, and one against

                           17 Apollo and TPG for aiding and abetting a breach of fiduciary duty. The Iron

                           18 Workers and Staehr Complaints each plead a single claim for breach of fiduciary

                           19 duty; these actions do not name Apollo and TPG as defendants.

                           20                 This Consolidated Action is Removable Pursuant to the
                           21                     Securities Litigation Uniform Standards Act of 1998
                           22                  15.    This Court has subject matter jurisdiction over the
                           23 Consolidated Action pursuant to the Securities Litigation Uniform Standards
                           24 Act of 1998 ('SLUSA''), which amended Section 28 of the Securities Exchange Act
                           25
                                        2
                           26          The complaints in the Iron Workers, Berliner, and Frechter Actions are
                              substantively identical, down to the numbering of the paragraphs. The complaints in
                           27 these three actions are here and will hereinafter be referred to collectively as the "Iron
                              Workers Complaint."
                           28
  MORRIS PlCKERlNC
 PETERSON DTRACHOK
    ATTORNEYS AT LAW                                                  Page 5 of 11
900BANK OFAMERICA PLAZA
JOOSOUTH FOURTH STREET
 LASVEGAS, N E V A D A 8 9 1 0 1
     702/474-9400
    FAX 702/474-9422
                            Case 2:06-cv-01356-PMP-LRL Document 1 Filed 10/25/06 Page 6 of 11



                        1 of 1934 (15 U.S.C. § 78bb)3 by adding, inter alia, paragraph (f)(2), "Removal of
                        2   covered class actions." This subsection provides: "Any covered class action
                        3   brought in any State court involving a covered security, as set forth in paragraph
                        4   (l),shall be removable to the Federal district court for the district in which the
                        5 action is pending, and shall be subject to paragraph (l)."
                                                                                   15 U.S.C.      5 78bb(f)(2).
                        6 Paragraph (l),referred to in the preceding removal provision, prohibits a private
                        7   party from maintaining a "covered class action based upon the statutory or
                        8   common law of any State or subdivision thereof" alleging:
                        9 (A) a misrepresentation or omission of a material fact in connection with the

                       10 purchase or sale of a covered security; or
                       11   (B) that the defendant used or employed any manipulative or deceptive device
                       12   or contrivance in connection with the purchase or sale of a covered security.
                       13   15 U.S.C. 5 78bb(f)(l).
                       14                16.   The Consolidated Complaint, as well as the Iron Workers,
                       15   Berliner, Frechter, and Staehr Complaints, meet each of the elements set forth in
                       16   SLUSA.
                       17                                 Covered Class Action
                       18                17.   The Consolidated Action qualifies under SLUSA as a "covered
                       19 class action," which is one in which "damages are sought on behalf of more than
                       20   50 persons or prospective class members," or where "one or more named parties
                       21   seek to recover damages on a representative basis on behalf of themselves and
                       22   other unnamed parties similarly situated," and common questions of law and
                       23   fact predominate over questions affecting individual persons or class members.
                       24   15 U.S.C. § 78bb(f)(5)(B)(i)(I)
                                                         & (11).
                       25

                       26
                       27
                                    The Securities Act of 1933was likewise amended by SLUSA at 15U.S.C. § 77p.
                       28
  MORRIS PlCKERlNG
 PETERSON BTRACHOK
    ATTORNEYS AT LAW
900 BANK OFAMERICA PLAZA
                                                                Page 6 of 11
 300 SOUTH FOURTH STREET
  LASVEGAS, NEVADA89101
     702/474-9400
    FAX 702/474-9422
                                   Case 2:06-cv-01356-PMP-LRL Document 1 Filed 10/25/06 Page 7 of 11



                                                                     Covered Security
                                                  18.   The Consolidated Action similarly satisfies the requirement
                                   that the securities be "covered securit[ies]," a term the Uniform Standards Act
                                   borrows from Sections 18(b)(l)and (2) of the Securities Act of 1933 (15 U.S.C. 5
                                   7743)). See 15 U.S.C. § 77bb(f)(5)(E).A covered security includes any security
                                   "listed, or authorized for listing, on the New York Stock Exchange." 15 U.S.C. 5
                                   77r(b)(l)(A),(B). Harrahs shares trade on the New York Stock Exchange under
                                   the symbol HET.
                              9                          Alleged Misrepresentationor Omission
                           10                     19.   Under SLUSA, an action may qualify as a covered class action
                           11      if it brings a state law claim alleging "a misrepresentation or omission of a
                           12      material fact in connection with the purchase or sale of a covered security." 15
                           13      U.S.C. 5 78bb(f)(l)(A). The Consolidated Action alleges such misrepresentations
                           14      or omissions of material fact in connection with the purchase or sale of Harrah's
                           15      securities.
                           16                    Alleged Manipulative or Deceptive Device or Contrivance
                            17                    20.   The claims in the Consolidated Action also rest on allegations
                            18     that Defendants "used or employed [a] manipulative or deceptive device or
                           19      contrivance in connection with the purchase or sale of a covered security." 15
                           20      U.S.C. 3 78bb(f)(l)(B). The Consolidated Action likewise contains allegations
                           21      that Defendants engaged in a manipulative scheme to depress the market price
                                   of Harrah's stock and to deprive Harrah's shareholders of adequate
                           23      consideration for their shares.
                           24

                           25

                           26

                           27

                           28
  MORRIS PlCKERlNG
 PETERSON 8 TRACHOK
    ATTORNEYS AT LAW
400 BANK OFAMERICA PLAZA
                                                                       Page 7 of 11
J O O S O U T H FOURTH STREET
 LASVEGAS. N E V A D A 8 9 1 0 1
        702/474-9400
      FAX 702/474-9422
                                   Case 2:06-cv-01356-PMP-LRL Document 1 Filed 10/25/06 Page 8 of 11



                              1               SLUSA's Exemption For Certain Actions Does Not Apply
                              2                21.    SLUSA exempts certain actions from its scope if they involve:
                              3                the purchase or sale of securities by the issuer or an affiliate of the
                              4                issuer exclusively from or to holders of equity securities of the
                              5                issuer; or
                               6               any recommendation,position, or other communicationwith
                              7                respect to the sale of securities of an issuer that
                               8               (aa) is made by or on behalf of the issuer or an affiliate of the
                               9                      issuer to holders of equity securities of the issuer; and
                            10                 (bb) concerns decisions of such equity holders with respect to
                            11                        voting their securities, acting in response to a tender or
                            12                        exchange offer, or exercising dissenters' or appraisal rights.
                            13 ld. 5 78bb(f)(3)(A).
                            14                 22.    The Consolidated Action falls under neither prong (I) or (11)
                            15     of the exemption. The allegations do not involve the purchase or sale of
                            16     securities by Harrah's or an affiliate of Harrah's exclusively from or to holders of
                            17 Harrah's stock. Nor are there any allegations involving a "recommendation,

                            18 position, or other communication"made by Harrah's or its affiliates concerning

                            19 "decisionsof such equity holders with respect to voting their securities, acting in

                           20      response to a tender or exchange offer, or exercising dissenters' or appraisal
                           21 rights."

                            22                 23.    Further, without regard to the content of the alleged
                           23 Zommunications, the exemption does not apply to claims against Apollo and
                            24     TPG. The Consolidated Action does not allege any purchase or sale of securities
                            25     by Apollo and/or TPG or its affiliates exclusively from or to their own equity
                            26     holders. Further, the second prong of the exemption only applies to a
                            27     recommendation, position, or other communication"made by or on behalf of the
                            28
  MORRIS PlCKERlNC
 PETERSON 8 TRACHOK
    ATTORNEYS AT LAW                                                   Page 8 of 11
900 BANKOFAMERICAPLAZA
300 SOUTH FOURTH STREET
 LASVEGAS. N E V A D A 8 9 1 0 1
     702/474-9400
    FAX 702/474-9422
                                  Case 2:06-cv-01356-PMP-LRL Document 1 Filed 10/25/06 Page 9 of 11



                              1 issuer or an affiliate of the issuer to holders of equity securities of the issuer."
                              2   The claims against Apollo and TPG thus provide an independent basis for
                              3   SLUSA preemption of the Consolidated Action without regard to whether the
                              4   claims against Harrah's and its affiliates are sustainable under SLUSA.
                              5                  24.   Because the Consolidated Action falls within the terms of
                              6   SLUSA, it must be brought in federal court, under federal law, and not upon the
                              7   statutory or common law of Delaware or Nevada. 15U.S.C. 5s 77p(b) and
                              8   78bb(f)( 1).
                              9                  25.   The first complaint was filed on October 3,2006, and removal
                            10 is thus timely under 28 U.S.C. 5 1446(b).
                            11                   26.   All Defendants named in the Consolidated Action consent to
                            12    removal. Written consents on behalf of all Defendants other than the
                            13 undersigned are attached hereto as Exhibit L. The Notices of Appearance and
                            14    Initial Disclosures filed with the District Court of Clark County on behalf of
                            15    Defendants Harrah's, Loveman, and Atwood are attached hereto as Exhibit M.
                            16                   27.   By filing this Notice of Removal, the Defendants do not waive
                            17 any defenses that may be available to them.

                            18                   28.   At the time of removal, two motions were pending before the
                            19 District Court of Clark County, which are attached hereto as Exhibit N.
                           20                    29.   A copy of this Notice will be filed with the Clerk of the
                           21 District Court of Clark County, Nevada, as required by 28 U.S.C. § 1446(d).
                           22

                           23

                           24

                           25

                           26
                           27
                           28
  MORRIS PICKERINC
 PETERSON OTRACHOK
    ATTORNEYS AT LAW                                                   Page 9 of 11
900 EANKOFAMERICAPLAZA
300 SOUTH FOURTH STREET
 LASVEGAS. NEVADASOIOI
     702/474-9400
    FAX 7 0 2 / 4 7 4 - 9 4 2 2
                                       Case 2:06-cv-01356-PMP-LRL Document 1 Filed 10/25/06 Page 10 of 11



                                   1                30.    The Defendants will give written notice of the filing of this
                                   2    Notice to all adverse parties, as required by 28 U.S.C. § 1446(d).
                                   3          Dated this S t h c t o b e r , 2006.
                                   4
                                                                                MORRIS PICKERING PETERSON
                                   5                                            & TRACHOKI
                                   6

                                   7                                            B
                                   8                                                 Rosa Solis-Rainey, Bar No. 7921
                                                                                     900 Bank of America Plaza
                                   9                                                 300 South Fourth Street
                                                                                     Las Vegas, Nevada 89101
                             10
                                                                               Attorne s for Harrah’s Entertainment, Inc.,
                             11                                                Gary dLoveman & Charles L. Atwood
                             12

                             13

                             14

                      .      15

                             16

                             17

                             18

                             19
                            20

                            21

                            22

                            23

                            24

                            25

                            26

                            27

                            28
   MORRIS PICKERING
 P E T E W N 0 TRACHOK
    ATTORNEYS AT LAW
900 BANKOFAMERICAPLAZA
                                                                           Page 10 of 11
300 SOUTH FOURTH STREET
 LASVEGAS. N E V A D A 8 9 1 0 1
     702/474-9400
    FAX 7 0 2 / 4 7 4 - 9 4 2 2
                                    Case 2:06-cv-01356-PMP-LRL Document 1 Filed 10/25/06 Page 11 of 11



                               1                               CERTIFICATE OF SERVICE
                               2          Pursuant to Fed. R. Civ. P. 5(b) and Section IV of District of Nevada
                               3 Electronic Filing Procedures, I certify that I am an employee of MORRIS
                               4 PICKERING PETERSON & TRACHOK, and that the following documents were

                               5 served via electronic service: NOTICE OF REMOVAL
                               6 TO:      none
                               7          I further certify that I am familiar with the firm's practice of collection and
                               8 processing documents for mailing; that in accordance therewith, I caused the
                               9 above-named document to be deposited with the U.S. Postal Service at Las

                            10 Vegas, Nevada, in a sealed envelope, with first class postage prepaid, on the date
                            11 and to the addressee@)shown below:

                            12 G. Mark Albri ht                                   Michael N. Feder
                                                  5
                                    Albright, Stod ard, Warnick                   Beckley Singleton, Chtd.
                            13
                                      A1briP
                                    801
                                    L3z Sou
                                        Rancho Drive #D4
                            14 Las Ve as, Nevada 89106
                                                                                  530 Las Ve as Blvd., South
                                                                                  Las V e p k e v a d a 89101
                                                                                  Fax: (7 2) 385-9447
                            15
                                          i
                                    Fax: (7 2) 384-0605
                                    Antonio Vozzolo
                            16 Nadeem Faruqi
                                    Shane T. Rowley
                            17 Faruqi & Faruqi, LLP
                                    320 East 39th Street
                            18 New York, New York 10016
                                    Fax: (212) 983-9331
                            19
                            20
                                                 DATED this               of                    ,2006.
                            21
                           22

                            23

                           24
                           25
                           26
                           27

                           28
  MORRIS PICKERING
 PETERSON 8 TRACHOK
    ATTORNEYS AT LAW
900 BANK OF A M E R I C A P U Z A
                                                                       Page 11of 11
 300 SOUTH FOURTH STREET
  LASVEGAS, N E V A D A 8 9 1 0 1
      702/474-9400
     FAX 702/474-9422
